Case 04-1042%-reg Doc 605-1 Filed 04/07/05 | Page 1 of 23
} ) ase ” 7

i met ee ee Eee | ~~ oom . . we em et wey lo» mens oe ee

Prog ryt Qls-CD |

+

COS IGE T

Valea
Fin mrac lad
Swe rwicas

LEASE AGREEMENT
Lease No. 4120494 Lesse Date: MAY 8, 20013
Lessor: KMH Systems, Inc. , Lessee: Auburtt Fonadry Ine
Address: 6900 Pot Avenne Address: 635 West Eleventh St
Dayton, OH 45414-0268 Auburn, IN 46706
TERMS AND CONDITIONS

L LEASING:

(a) Subject to the terms and conditions set forth below, Lessor.agrees to lease to Leste, and Lessee agrees to least from Lessor, the equipment:
("Equipraest”) described in any schedule hereto ("Schedule"). Terms defined in a Schedule and not otherwise defined fiercin shall have the meanings
ascribed to them in such Schedule.

(b) The obligation of Lessor to purchase. Equipment from the manufacturer or suppticr thercof ("Suppiter") and to lease.the samc to Lessee under
any Schedule shall be subject to receipt by Lessor, prior to the Lease Commencement Daie (with respect to-such Equipment}, of cach of the following
documents in form und substance satisfactory to Lessor: (i) a Schedule relating to the Equipment then to'’be leased hereunder, (ii) evidence of insurance which
complies with the requirements of Section VIII, and (ii) such other documents as Lessor may. reasonably request: As a further condition to such obligations of
Lessor, Lessee shall, upon delivery of such Equipment execute and deliver to Lessor a Cenificare of Acceptance (which can be cither, at Lessot’s discretion,
incorparated into the applicable Schedule or ina ecperate form acceptable to the Lessor) covering such Equipment, and deliver to Lessor » document which
passes title to such. Equipment (in form and substance satisfactory to Lessor). Lessor hereby gppoints Lessee its agent for inspection and acceptance of the
Equipment from the Supplier. Upon execution by Lessee of any Conificate of Acceptance, the Equipment described thereon shall be deemed to have been
delivered to, and irrevocably accepted by, Lessee for lease hereunder.

u. TERM, RENT AND PAYMENT:

(a) The reat puyable ‘hereunder and Lessce’s right to use the Equipment shall commence on the date of execution by Lessee of the Certificate of
Acceptance for such Equipment ("Lease Commencement Date"), The term of this Agreement shall be the period specified in the applicable Schedule. If
any term ig extended, the word “term” shall be deemed to refer to. all extended terms, and al} provisions of this Agreement shal] spply during any extended
terms, except a5 may be otherwise specifically provided in writing,

(b) Rent shall be paid to Lessor st its address stated above, except as otherwise directed by Lessor, For the petiod from and including the Lease
Commencement Date to the first day of the:month following the Lease Commencement Date ('Basic Term Commencement Date"), Lessec shall pay as cont
("toterim Rent"). for the Equipment, a.pro-rata_portion of the Basic Term Rent for any. such interim ‘period. Interim Rent shall be duc on Basic Term.
Commencement Date, Commericing:on the Basic Term Commencement Date and on the same day of cach month thereafter during the Basic Term, Lessce
shall pay as renm-the Basic Term Rent. If one or morc Advance Rentals are payable, such Advance Renta) shall be (i) set forth on the applicable Schedule, (ii
due upon acceptance by Lessor of such Schedule, and (if) when reccived by Lessor, applied tothe first reat payment-and the balance, ifany, to the fina) rental
payment(s) under such Schedule, {1 no event shall any Advance Renisl or any other rent payments be refunded to Lessee. If rent is not paid within ten daya
of its due ‘date, Lessee agrees to pay a lite. charge of five cents (5¢).per dollar on, and in addition to, the amount of such rent but not excooding the lawful
maximum, if' any,

(c) For any Scheditle, Lessee hereby acknowledges thnt the Basic Term Rent has been calculated on the tion that each unit of Equipment will
be opernted annually during the term of the Schedule for the number of hours listed as the Annual Operating Hour listed on said Schedule, und that the
condition of the Equipment upon return to the Lessor, panruant to’ Section IX of this.Agreement, shall comply with such assumption. In the event that ir
should be determined thet the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours, Lessee may, at
Lessor’s option, be tequired te pay upon demand, in sddition to any other amounts due under the applicable Schedule: (i) an excess usage charge which shall
be determined by Lessor based on the applicable rental ‘ates currently in cffect at that time; plus (ii) any-and all repair costs which are deemed necessary by
Lessor, in its sole reasunable discretion, which are related to such excess usage,

WL TAXES: Except as provided in Section XII(b}, Lessee shall have no linbility for tixes imposed: by the United Sutes of America or any Statc or
political subdivision thereof which are on or measured by the act income of Lessor. Lessee shall report.(to the extent that it is legally permissible) and pay
promptly all other taxes, fees und ents due, imposed d or levied against any Equipment (or the. purchase, ownership, delivery, leasing,

possession, Us¢ or operntion thereof), this Agreement (or any rentals or receipts hereunder), any Schedule, Lessor or Lease by any forcign, federal, state or
local government or taxing authority during or related ‘to the term of this:Agrecment, including, without limitation, all license. and registration fees, and.all
sales, usc, personal property, excise; gross receipts, franchise, stamp ar other taxes, imposts, duties and charges. together with any penalties, fines or Interest
thereon (all hereinafter called "Taxes"). Lessee shall (i) reimburse Lessor upon receipt of written request for reimbursement for avy Taxes charged to or
assessed against Lesgor, (ii) on request of Lessor, submit to Lessor written evidence of Lessce's payment of Taxes, Gil} on ali reports or returna show the
ownership.of the Equipmcat by Lessor, and (iv) send a copy thereofito Lessor. TO THE EXTENT.ALLOWED BY APPLICABLE LAW AND UNLESS AND
UNTIL LESSOR NOTIFTES LESSEE IN WRITING TO THE CONTRARY, LESSOR WILL FILE ALL PERSONAL PROPERTY TAX RETURNS

COVERING THE EQUIPMENT AND WILL PAY THE PERSONAL PROPERTY’ TAXES LEVIED OR ASSESSED THEREON. LESSEE, UPON

RECEIPT OF INVOICE, WILL PROMPTLY PAY TO LESSOR, AS SUPPLEMENTAL RENT, AN AMOUNT EQUAL TO THE PROPERTY TAXES SO
PAID BY LESSOR. IF APPLICABLE LAW REQUIRES THAT THE LESSEE FILE PERSONAL PROPERTY TAX RETURNS, LESSEE SHALL DO SO
AND PAY ANY APPLICABLE TAXES AND PROVIDE LESSOR WITH COPIES OF ALL SUCH PERSONAL PROPERTY TAX RETURNS, TOGETHER
WITH EVIDENCE OF PAYMENT THEREFOR, NOT LATER THAN FIFTEEN DAYS FOLLOWING SUCH PAYMENT.

tv. REPORTS: :

(a) Lessce will notify Lessor in writing, within ten days after any x or other tien shall ausch to any Equipment, of the fill: paniculars thereof and of
the location of such Equipment on the date of such notification.

(b) Lessee will permit Lessor ta inspect any Equipment during normal business hours,

_ EXHIBIT he (if)

Case 04-10427-reg Doc 605-1 Filed 04/07/05 Page 2 of 23

(c) Lessoe will keep the Equipment uf the Equip Location (specified in the epplicable Schedule) and will promptly notify Lessor prior to any
colocation of Equipment. Upon die written request of Lessar, Lessee will notify Lessor forthwith in writing of the location of any Equipment ss of the date of
such notification.

(d) Lessee will promptly and fully report to Lessor in writing if any Equip is lost or damaged (where the estimated repair cose would exceed
10% of its then fair market value), or is cthetwise involved in an accident causing persona) injury or property damage.

Vv, DELIVERY, USE AND OPERATION:

(a) All Equipment shall be shipped directly from the Supplier to Lessee.

(b) Lessee agrees that the Equipment will be used by Lessee solely in the conduct of its business and in a manner complying with all xpplicable
federal, state, and loca) laws and regulations. ,

(c) LESSEE SHALL NOT, WITHOUT LESSOR’S PRIOR WRITTEN CONSENT, ASSIGN, MORTGAGE, SUBLET OR HYPOTHECATE ANY
EQUIPMENT, OR THE INTEREST OF LESSEE HEREUNDER, NOR SHALL LESSEE REMOVE ANY EQUIPMENT FROM THE CONTINENTAL
UNTTED STATES.

(d) Lessee will keep the Equipment free and clear of all liens and encumbrances other than those which resuk from acts of Lessor.

VL SERVICE; REPAIRS; MAINTENANCE; USE; ALTERATIONS: Lessee, ut its sole expense, shall keep all Equipment in good repair, condition
and working order in socordance with manufacturer's recommendations and furnish all labor, parts, und supplies required therefor, Lesscc’s obligations
hereunder shall not be abrogated irregardless of any third-party maintenance contacts covering the Equipment. Lessee agrecs 19 maintain accuram and
complete records of all repairs and mai ¢ to the Equip and allow Lessor to inspect such records st any time during business hours of Lessce. Any
modifications or additions to the Equipment required by any governmental odict shall be prompoly made by Lessee at is own expense. Without the prior
written consent of Lessor, Lessee shall not make uny alterations, udditions or improvements to the Equipment which are permanent or which detract from its
economic value or functional utility, except as may be required pursuant to the proceding sentence of this Section VI, All additions and iraprovernents to the
Equipment shall belong to and immediately become the property of Lessor and shall be retuned to Lessor with the Equipment upon the expiration of earlier
termination of this Agreement unless Lessor notifies Lessee to restene such Equipment to its original state,

VIL LOSS, DAMAGE AND STIPULATED LOSS VALUE: Lessee hereby assumes and shall bear the entire risk of any loss, theft, damage to, or
destruction of, any unit of Equipment from any cause whatsoever. Lessee shall peompdy and fully notify Lessor in writing if any unit of Equipment shall be or
become worn out, lost, stolen, destroyed, inreparably damaged in the reusonable determination of Lessee, or permanently rendered unfit for use from any cause
whatsoever (each such occurrence being hereinafter called a "Casualty Occurrence"). On the Rent Payment aext succeeding « Casualty Occurrence (the
"Payment Date”), Lessee shall pay Lessor the sum of (2) the Stipulated Loss Value of such unit calculated as of the Rent Payment Date next preceding sach
Casualty Occurrence; aad (b)-all Rent and other amounts which are duc or accrued hereunder on or as of the Payment Date. Stipulated Loss Valuc as. used
herein sha}! be the sum of (i) all Rene due and accrued as of the Payment Date; plus (ii) the rentaining Renc payable during the Torm, present valued from each
Rent Payment Date to the Payment Date using a simple interest rate equal to four percent (4 %); plus (iii) the. estimated Fair Market Valve (ax that tcrm is
defined in the proceeding sentence) of the Equipment at the end of the term of the applicable Schedule. Bair Market Value shall be determined by Lessor at
the time that the Stipulated Loss Value for the Equipment is calculated. For the purposes of this Agreement, the term "Fair Market Value" stall mcan the
price which a willing buyer (who is neither a lessee in possession nor-a used equipment dealer} would pay for the Equipment in.an anm's-length transaction to &
willing seller under no compulsion to sell; provided, however, that in such determination: (i) the Equipment shal} be assumed to be in the condition in which it
is required to be maintained and retumed under this Agreement; (i) jn the case of any installed Equipment, that Equipment shall be valued on an installed
basis; -and (Hi) costs. of removal. front current location shall not be 8 deduction from. such valustion. If Lessor and Lessee. are unable to agree on the Fair
Market Value at least 45 days before lease expiration, Lessor shall appoint an independant appraiser (reasonably acceptable to Lessee) to determine Fair
Market Value, end that determination shall be final, binding.and conclusive, Lessee shall bear-all costs associated with any such appraisal. Upon payment of
ai] sums due hereunder, the Term of this Lease as to the unit of Equipment which has suffered the Casualty Occurrence shall terminate, and Lessor shall be
entitled to retain possession. of such unit.

VILL “INSURANCE: Lessce ugrees, at its own expense, to keep all Equipment insured. for such amounts and-against such hazards as Lessor may require,
including, but not limited to, insurance for damage to,.or loss of, such Equiptnci and liability coverage for personal injuries, death or property damage.
Public liability insurance shall be in the emounts set forth in the Schedule. and Casualty and Property Damage shall bein af amount equal to the higher of the
Stipulated Loss Valuc or the full replacement cost of the Equipment All insurance policies shall name Lessor a3 -edditional insured and with a loss payable
clause in favor of Lessor, as its interest muy appear, irrespective pf any breach of warranty or other act or omission of Lessee, All such policics shal) be with
companies, and on terms, satisfactory to Lessor. Lessee agrees to deliver to Lessor evidence of insurance satisfactory to Lessor. No insurance shall be subject
to any co-insurance clause, Lessee hereby appoints Lessor as Lessee’s attorney-in-fact to make proof‘of loss and claim for insurance, and to make adjustments
with insurers and to receive payment of and execute or endorse all documents, checks or drafts in connection with psyments made as 2 result of such insurance
policies. Any expense of Lessox' in adjusting or collecting jusurance shall’ be borne by Lessee, Said policies shal} provide. that the insurance may not be
altered or cancelled by the. insurer until after thirty (30) days written notice t Lessor. Lessor my, af its option, apply proceeds of insurance, in whole-or in
part, to (i) repair or replace Equipment or any portion thereof, or (ii) satisfy any obligation of Lessee to Lessor hereunder.

rm. RETURN OF EQUIPMENT:

(a) Upon any expiration or termination of this. Agreement or any Schedule, Lessee shall promptly, of its own cost and expense: () perform any
testing and repairs required to place the affected units of Equipment in the same condition and appearance as when received by Lessee (reasonable weer and
tear excepted) and in good working order for their originally intended purpase; (3) have the Equipment inspected by an authorized dealer (or other authorized
agent) for the Equipment; and (ii) return such units to 8 location within the continental United States thar is mutually sccepeable to both Lessor and. Lessee.
Lessee agrees to pay forall damages to. Equipment, as evidenced by the Return Inspection Report, other than that attributable to ordinary wear and tear from
usage in accordance with the terms of this Agreement.

(b) For any Equipment which is o lift truck, in addition to the conditions set. forth in IX(a) above; ar the end of the term, the Equipment will be
retumod with frame and major components (including, without limitation, al) forks, overhead guards, load backrests and shect ynetal) structurally sound,
yeithout breaks, cracks or excessive rust. and corrosion, Drive motors, engines, bydraulic systems, and transmissions will operate property st fully rated loads
in all gear ranges, both forward.and reverse. Smoking engines deemed excessive by the Inspector must be repaired prior to return. Water, oi] and hydraulic
leaks shall not be in excess of one drop per mime, Mechanical drive train will bo in good condition and ‘cperate quietly without vibrations. Service and
parking brakes rmust be able to stop Equipment within-a safe distance, both forward and reverse, Steering will operate normally stop-to-stop without excessive
play in linknge, or axle componcnts such asking pins. Tires will not exhibit chunking and will bave uf least 40% of the original thickness remaining. Au)
cabs, lights and other -sccessories will be in good operating condition and zppearance. All components will have been recently serviced following
mannfachiner's operating and maintenance procedures. Equipment will be complete with-all componcats, accessories, attachmenty, parts and ploces as when
originally delivered,

(c) Until Lessee has fully complied with the requirements of Section IX (a) above, Lessee's rent payment obligation and al) other obligations under
this Agrecment shall continue from modth to month notwithstanding any- expiration or termination of the lease term. Lessor may terminate such continued
Jeaschold interest upon ten (10) days notice to Lessee. ‘

x. DEFAULT:

oe EXHIBIT: Gaps)

-

spe
ay OF EMEP of
ot ERO gperaiot
copes pernes OF
parce 6
ete 1, WY
ait + pete
pect TT og, sma wd
‘ tg 08 8 se, pce
xet wake th pnd is see fi
pests ¢ this "e
* A10+ serra 9
ar vol" ening ©
gu) BoE of Ba a
the ORE qnctes

1, Or
eee
Soca
od
wt
wie
° rh 06 EEO
oy 1 eee
aye oS elt
Ly OF
coe angen
ony

Case 04-10427-reg Doc 605-1 Filed 04/07/05 -Page 3 of 23

4
Case 04-10427-reg Doc 605-1 Filed 04/07/05 Page 4 of 23

thereof, any deficiency or defect (latent or otherwisc) thercin, or any other cir in ex ion therewith; (ii) the use, operation or performance of any
Equipment or any risks relating thereto; (ii) any interruption of service, loss of business or aaticipsted profits or consequential damages; of (iv) the delivery,
operation, servicing, maintenance, repair, improvement or replacement of any Equipment, If, and so long as, no default exists under this Lease, Lessee shall
be, and hereby is, authorized during the term of this Lease to assert and enforce, at Lessee’s sole cost and expense, from time to time, in the namie af and for the
account of Lessor and/or Lessce, zs their interests may appear, whatever claims and rights Lessor may have against any Supplier of the Equipment,

XV. REPRESENTATIONS AND WARRANTIES OF LESSEE: Lessce hereby represents and warrants to Lessor that on the date hereof and on the
date of execution of each Schedule: /

(a) Lessee has adequate power and capscity to enter into, and perform under, this Agreement and all related documents (together, the "Documents”)
and is duly qualified to do business wherever necessary to.carry on its present business and operations, including the jurisdiction(s) where the Equipment is or
is to be located.

(b) The Documents have been duly authorized, executed and delivered by Lessee and constimte valid, Icgal and binding agreerenss, enfoxceabic in
accordance with their terms, except to the extent that the enforcement of remedies therein provided may be limited ander applicable tankruptry and
insolvency laws.

(c) No approval, consent or withholding of objections is required from any governmental authority or instrumentality with respect to the eatry into or
performance by Lessee of the Documents except such ag have already been obtained.

(d) The entry into and performance by Lessee of the Documents will ot (i) violate any judgment, order, law or regulation applicable to Lessee or
any provision of Lessee's Certificate of Incorporation or By-Laws; or (ii} cesult in any breach of, constitute a default under or tesult in the creation of any licn,
charge, security { { or other brance upon any Equipment pursuant to any indenrare, mortgage, deed of trust, bank loan or credit agreement or other
instrument (other than this Agreement) to which Lessee is 3 parry,

(c) There are no suits or proceedings pending or threatened in court or before any commission, board or other administrative agency against or
affecting Lessec, which will have s material adverse effect on the ability of Lessee.to fulfil] its obtigations under this. Agreement,

(f) The Equipment sccepted under any: Certificate of Acceptance is and will remain tangible personal propaty.

(g} Lessee is and will be at all umes validly existing and in good standing under the laws of the State of its incorporation (specified in the first

of this Agr t).

(h) The Equipment will at all times be used for commercial or business purposes,

XVI RENEWAL OF LEASE TERM: If an event of default has not occurred and is not continuing hereunder, Lessee, by giving Lessor not less than
ninety (90) days’ written notice prior to the expiration of the Basic Term of any Schedule, may elect to renew my such Schedule with reference to all, but not
less than all, of the Equipment leased thereunder for the period(s) and far the renewal rental(s) (payable in advance) as may be determined by Lessor in iss sole
discretion. Renewal rental shall be based upon the Fair Market Rental Valus of the Equipment-at Schedule cxpiration, Fair Market-Rental Value shall be
determined in the same manner a3 Fair Market Value pursuant to Section Vil above.

XVH. MISCELLANEOUS: ,

(a) Unless acd until) Lessce exercises its rights under Section XVI above, nothing herein contained shall. give or convey to Lessee any right, title or
imerest in and to. any Equipment except as a lessee, Any-cancéllation or termination by Lessor, purmuant 00 the provision of this Agreement, any Schedule,
supplement or amendment hereto, or the lease of-any Equipment heretinder, shall not release Lessee from sny. therr outstanding obligations to Lessor
hereunder. All Equipment shall az all times remain personal property of Lessor regardicss of the degree of its annexation to any real property and shall not by
reason of any installation it, or affixation to, real or personal property become & part thereof, :

(b) Time is of the essence of this Agreement. Lessors failure at any time to require'strict performance by Lessee of any of the provisions hereof shal]
not waive or diminish Lessor's eight thereafter to demand strict compliance therewith, Lessee agrees, upon Lessor’s request, to execute any instrument.
necessary or expedient for filing, recording or perfecting the interest of Lessor. All notices required.to be given hereunder shall be dcermed adequately gived if
Sent by registered or certified mail to the addressee at ity oddress stated herein, or at such other place. as such addressee may have designated in writing, This
Agreement and any Schedule and Annexes thereto constitute the entire agreement of the parties with respect tothe subject matter hercaf, NO VARIATION
OR MODIFICATION OF THIS AGREEMENT OR ANY WAIVER OF ANY OF ITS PROVISIONS: OR CONDITIONS, SHALL BE VALID UNLESS IN
WRITING AND SIGNED BY AN AUTHORIZED REPRESENTATIVE OF THE PARTIES HERETO.

(¢) THE PARTIES TO THIS AGKEEMENT HEREBY UNCONDITIONALLY WAIVE THEIR RESPECTIVE RIGHTS TO A JURY TRIAL OF
ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF, DIRECTLY OR INDIRECTLY, THIS AGREEMENT, ANY OF THE
RELATED DOCUMENTS, ANY DEALINGS BETWEEN THEM RELATING TO THE SUBJECT MATTER OF THIS TRANSACTION OR ANY
RELATED TRANSACTIONS, ANDYOR. THE RELATIONSHIP THAT IS BEING ESTABLISHED BETWEEN THEM. THE SCOPE OF THIS WAIVER IS
INTENDED TO BE ALL ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY BE FILED IN ANY COURT (INCLUDING, WITHOUT
LIMITATION, CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW AND STATUTORY
CLAIMS). THIS WAIVER IS IRREVOCABLE MEANING THAT IT MAY. NOT BE MODIFIED EITHER ORALLY OR IN WRITING, AND THE
WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS. TO. THIS AGREEMENT,
ANY RELATED DOCUMENTS, OR TO ANY OTHER DOCUMENTS OR AGREEMENTS, RELATING TO THIS TRANSACTION. OR ANY RELATED
TRANSACTION, IN-THE EVENT OF LITIGATION, THIS AGREEMENT MAY BE FILED ASA WRITTEN CONSENT-TO A TRIAL BY THE COURT,

(d) In case ofa failure of Lessee to comply with any provision of this Agreement, Lessor shall have the tight, but shall not be obligated to, effect such
compliance, in whole. or iu part; and all mancys spent and expenses and obligations incurred or assumed by Lessor in effecting such compliance shall
constitute additional rent due to. Lessor within five days after the date Lessor Sends notice.to Lessee requesting payment, Lessor’s effecting such compliance

XVITL POWER OF ATTORNEY: LESSEE HEREBY IRREVOCABLY CONSTITUTES AND APPOINTS LESSOR OR ITS ASSIGNEE, AS ITS
ACENT AND ATTORNEY IN FACT TO EXECUTE AND FILE ON LESSEES BEHALF. ANY UCC FINANCING STATEMENTS (OR THEIR
EQUIVALENT), INCLUDING AMENDMENTS THERETO, WHICH LESSOR. OR SUCH ASSIGNEE (AS THE CASE MAY BE) DEEMS
ADVISABLE IN ITS DISCRETION TO'SECURE THE INTERESTS OF LESSOR OR SUCH ASSIGNEE (AS THE CASE MAY BY) AND LESSEE
FURTHER AUTHORIZES LESSOR OR SUCH ASSIGNEE (AS THE CASE MAY BE) TO FILE. SAME. WITH OR WITHOUT LESSEES

SIGNATURE APPEARING THEREON.

THIS AGREEMENT SHALE NOT BE EFFECTIVE UNLESS AND UNTIL EXECUTED BY LESSOR.

oe exaier “A yp

Case 04-10427-reg Doc 605-1 Filed 04/07/05 Page 5 of 23

LESSOR;

KMA Systems, Inc.
By: nN A Zz.
Title: Cr alGs?

LESSEE:

Anburao Db, Inc Intl .
By: -

titer YP, Demance

Federal Tax Id. Number: 469573695

EXHIBIT “A (o°of23)

Yalo
Financial
Services

EQUIPMENT SCHEDULE/PURCHASE OPTION
TO LEASE AGREEMENT DATED AS OF

SCHEDULE NO, 4120494001 DATED THIS

Lessee: Auburo Foundry Loc
Address: 635 West Eleventh St
Auburn, IN 46706

Lessor: KMH Systems, Inc,
Address: 6900 Poe Avenue
Dayton, OH 45414-0268

Capitalized terms not defined herein shal] have the meanings assigned to them in the Lease Agreement identified above (“Agreement"; said Agreement and
this Schedule being collectively referred to as "Lease"). .

Except as expressly modified hereby, all terms and provisions of the Agreement shall remain in full force and effect. This Schedule is not binding or effective
with respect to the Agreement or Equipment until executed on behalf of Lessor and Lessee by authorized Tepresentatives of Lessor and Lessee, respectively.

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE

A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO. , ,

IN WITNESS WHEREOFP, Lessee and Lessor have cansed this Schedule to be executed by their duly authorized Tepresentatives as of the date

first above written.
LESSOR: LESSEE: 7
KMH Systems, Inc. Auburn Foun bn ful /
By: By: £
Name:__fuWWae E Su Name: THormns 8- West
3 -

Title: { “00. bathe Title; V. fh FIN AWCE

A.- Equipment *

Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:

1 Yale ABISOILAD if: GDPOGOTGNUAV087 New Forklift

I Yale AGBISBINGS9 GDPOGOTGNUAV087 New Forklift

1 Yale -AB75 Bitboay GDPOGOTGNUAV087 New Forklift

1 Yale A 8765.0, 14568 GDPO60TGNUAV087 New Forklift

I Yai 1 9 GDPO6GOTGNUAV087 New Forklift

1 Yale A156 jde0 GDPO6OTGNUAV087 New Forklift

i vate BQISG le GDPOGOTGNUAV087 New Forklift

Equipment immediately listed ote if Baths $ Ess bvest Eleventh St, Auburn, De Kalb County, IN 46706

Supplier: KMH Systems, Inc,

B. Floancial Terms

1. Advance Rent (if any): $4,747.95
3. Basic Term (No. of Months}: 36
5. Annua) Operating Hours: 4000

2. Basic Term Rent: $ 4,747.95
4. Public Liability Insurance: Minimam § 200M/S00M total Liability per occurrence.

The second sentence of Section II (c) of the Agreement shall be deleted in its entirety and the following added in its stead:

In the event that it should be determined that the actual number of operating hours for any unit of Equipment exceeda the applicable Annual Operating Hours
by 20% or more, Lessee may, at Lessor’s option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage
charge which shall be determined by Lessor based on the applicable rental rates currently in effect at that time; plus (i) any and all repair costs which are
deemed necessary by Lessor, in its sole reasonable discretion, which are related to such excess usage.

PVE

él t

ip

C. Tax Benefits
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only): 200% declining balance method, switching to straight line method for the Ist taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance.
b. Recovery Period: 5 years.
c. Fax Rate: 35%

D. Purchase Option

Purchase Option Price: Fair Market Value
For the purposes of this Schedule only, so long as no default exists hereunder and the lease has not been earlier terminated, Lessee may at lease expiration,
upon at least 90 days prior written notice to Lessor, purchase all (but not less than all) of the Equipment leased pursuant to this Schedule on an AS IS BASIS
for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes), If the Purchase Option Price is Fair Market Value, Lessee shall be .
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within 15 days after Fair
Market Value is determined (by agreement or appraisal). .

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC.
(“ASSIGNEE”), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR’'S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE “ACCOUNT DOCUMENTS"),
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE "ACCOUNT PROPERTY"), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT

AND CONSENTS THERETO.

Zz... A

Financial
Services

EQUIPMENT SCHEDULE/PURCHASE OPTION
- TO LEASE AGREEMENT DATED AS OF M ate
a
SCHEDULE NO. 4120494-002 , DATED THIS Q Le ND

. Lessor: KMH Systems, Inc. . Lessee: Auburn Foundry Inc
Address: 6900 Poe Avenue Address: 635 West Eleventh St
Dayton, OH 45414-0268 Auburn, IN 46706

Capitalized terms not defined herein shail have the meanings assigned to them in the Lease Agreement identified above (" Agreement”; said Agreement and
this Schedule being collectively referred to as Lease").

Except as expressly modified hereby, all terms ‘and provisions of the Agreement shall remain in fatt force and effect. This Schedule is not binding or effective
with respect to the Agreement or Equipment unti} executed on behalf of Lessor and Lessee by authorized representatives of Lessor and Lessee, respectively,

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BENDING UPON THE PARTIES HERETO. .

IN WITNESS WHEREOEF, Lessee and Lessor have caused this Schedule to be executed by their duly authorized representatives as of the date
first above written. ° tte

LESSOR: LESSEE:
KMH Systems, Inc. Auburn Fo No fall
oy fill Der om

 vame:_f‘Wiag Se) Reg name: Af mag Bo bracts
Title: Coa Xo (\- , " Title: V. P . F. (way a E&
A. Equipment
Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:
Oty | Make Serial Na. . Model Descripfion (incinde all attachments)
° 1 : Yale Cv! Svol 6 3 ay GDPO80LJINGBV08S New Forklift

Equipment immediately listed above is located at: 635 West Eleventh St, Auburn, De Kalb County, IN 46706 ‘

Supplier: KMH Systems, Inc,

B. Financia) Terms ‘

1. Advance Rent (if any): $846,73 2. Basic Term Rent: $246.73
3. Basic Term (No. of Months): 36 4. Public Liability Insurance: Minimum $200M/500M total Liability per occurrence.
5. Annual Operating Hours: 4000

The second sentence of Section II (c) of the Agreement shall be deleted in its entirety and the following added in its stead:

In the event that it should be determined that the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours
by 20% or more, Lessee may, at Lessor’s option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage
charge which shall be determined by Lessor based on the applicable rental rates currently in effect af that time; plus (ii) any and all repair costs which are
deemed necessary by Lessor, in its sole reasonable discretion, which are related to such excess usage. .

. EXHIBIT) “loos

i
Cc.
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only): 200% declining balance method, switching to straight line method for the Ist taxable year for which using the
Straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance.
b, Recovery Period: 5 years.
"¢. Tax Rate: 38%

D. Purchase Option
Purchase Option Price: Fair Market Value . . .

” For the purposes of this Schedule only, so long as no default exists hereunder and the lease has not been earlier terminated, Lessce may at lease expiratio
upon at least 90 days prior written notice to Lessor, purchase all (but not less than ell) of the Equipment leased pursvant to this Schedule on an AS IS BASIS
for cash equal ta the Purchase Option Price indicated above (plus applicable sales taxes). If the Purchase Option Price is Fair Market Value, Lessee shall be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within 15 days after Fair
Market Value is determined (by agreement or appraisal). .

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC.
("ASSIGNEE"), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR’S RIGHT, TITLE AND INTEREST.IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE “ACCOUNT DOCUMENTS"),
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE “ACCOUNT PROPERTY"), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT
AND CONSENTS THERETO. .

tl

Case 04-10427-reg . Doc 605-1 Filed 04/07/05 Page 10 of 23 -

cc

EQUIPMENT SCHEDULE/PURCHASE OPTION

Wester
Finanatint
Services
4120494003
SCHEDULE NO. 4120494-003

Lessor: KMH Systems, Inc.
Address; 6900 Poe Avenue
Dayton, OH 45414-0268

TO LEASE AGREEMENT DATED AS OF MAY 8, 2001
DATED THIS 7 So 02.

Lessee: Auburn Foundry lnc
Address: 635 West Eleventh St
Auburn, IN 46706

Capitalized terms not defined herein shall have the meanings assigned to them in the Lease Agreement identified above ( "Agreement"; said Agreement and

this Schedule being collectively referred to as Lease").

Lessee hereby authorizes Lessor to file a financing statement and amendments thereto describing the Equipment described in this Schedule and adding any
other collateral described herein and containing any other information required by the applicable Uniform Commercial Code. Further, Lessee irrevocably
grants to Lessor the power to sign Lessee's name and generally to act on behalf of Lessee to execute and file financing statements and other documents

pertaining to any or all of the Equipment.

Except as expressly modified hereby, all terms and provisions of the Agreement shall remain in fult force and effect. This Schedule is not binding or effective

with respect to the Agreement or Equipment until executed on

behalf of Lessor and Lessee by authorized representatives of Lessor and Lessee, respectively.

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO. .

IN WITNESS WHEREOP, Lessee and Lessor have

d this Schedule to be ted by their duly authorized representatives as of the date

first above written.

LESSOR: LESSEE.

KMH Systems, Inc. Auburn Fa

»— Wil Coe Mirme (Lott
Name: LI ANa wr =X, hom 5 M4 ilhke
Title: 0. tall - Title: CEOLVE Linance.

A, Equtpment

Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:

o ME AY TER TE 539 2

Ye AGBRIVAITS
Yale AFTSBIV3Z OE

Yae AGISBIVS43 2
Ye AFISBIPS53 =

Equipment immediately tsted he CRD ails

Supplier: KMH Systems, inc,

B. Financial Terms

eee ee

Madet Description {include all attachments

GDPO6OTGNUA V087 New Forklift
GDPOGOTGNUA V087 New Forklift
GDPO6OTGNUA V087 New Forklift
GDPO6GTGNUA V087 New Forklift
GDPO6OTGNUA V087 New Forklift
GDPO6OTGNUA VO087 New Forklift
leventh St, Auburn, De Kalb County, IN 46706

1, Advance Rent {ifany); $3,942.90
3. Basic Term {No. of Months): 36
3. Purchase Order #:

2. Basic Term Rent: $3,942.90
4. Public Liability Insurance: Minimum §$ 200M/S00M total Liability per occurrence.

6. Amat Operating Hours: 4000.

Case 04-10427-reg DBoe605-1 Filed 04/07/05 Page 11 of 23

The second sentence of Section 11 {c) of the Agreement shall be deleted in its entirety and the following added in its stead:

In the event that it should be determined that the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours
by 20% or more, Lessee may, at Lessor’s option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage
charge which shall be determined by Lessor based on the appticable rental rates currently in effect at that time; plus (ii) any and alll repair costs which are
deemed necessary by Lessar, in its sole reasonable discretion, which are related to such excess usage.

Cc Tax Benefits
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only): 200% declining balance method, switching to straight line method for the 1st taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance.
b. Recavery Period: 5 years.
c. Tax Rate: 35%

D. Purchase Option
Purchase Option Price: Fair Market Value

For the purposes of this Schedule only, so long as no default exists hereunder and the lease has not been earlier terminated, Lessee may at lease expiration,
upon at least 90 days prior written notice to Lessor, purchase all (but not less than all) of the Equipment leased pursuant to this Schedule on an AS 1S BASIS
for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes). If the Purchase Option Price is Fair Market Value, Lessee shall be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within [5 days after Fair
Market Value is determined (by agreement or appraisal).

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC.
("ASSIGNEE"), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR'S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE "ACCOUNT DOCUMENTS"), «
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE "ACCOUNT PROPERTY”), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT

AND CONSENTS THERETO.

Case 04-10427-reg- Dece605-1 Filed 04/07/05 Page 12 of 23

ce :

4120494004

EQUIPMENT SCHEDULE/PURCHASE OPTION

TO LEASE AGREEMENT DATED AS OF MAY 8, 2001
SCHEDULE NO. 4120494-004 DATED ras_7/5 (02

Lessor: KMH Systems, Inc. Lessee: Aubura Foundry lnc
Address: 6900 Poe Avenue Address: 635 West Eleventh St
Dayton, OH 45414-0268 Auburn, IN 46706

Capitalized terms not defined herein shall have the meanings assigned to them in the Lease Agreement identified above ( “Agreement”; satd Agreement and
this Schedule being collectively referred to as “Lease"').

Lessee hereby authorizes Lessor to file a financing statement and amendments thereto describing the Equipment described in this Schedule and adding any
other collateral described herein and containing any other information required by the applicable Uniform Commercial Code, Further, Lessee irrevocably
grants to Lessor the power to sign Lessee's name and generally to act on behalf of Lessec to execute and file financing statements and other documents

pertaining to any or all of the Equipment.

Except as expressly modified hereby, ail terms and provisions of the Agreement shall remain i effect. This Schedule is not binding or effective
with respect to the Agreement or Equipment until executed on behalf of Lessor and Lessee by authorized representatives of Lessor and Lessee, respectively.

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO.

IN WITNESS WHEREOF, Lessee and Lessor have caused this Schedule to be executed by their duly authorized representatives as of the date
first above written. '

LESSOR: LESSEE:
KMH Systems, Inc. Auburn Foun Ml t
By: Ld Mh: \ , By:

Name: bd: Weg AD Tua, Name: fOM LB bash.
Title: Cen tole ~ tite_C Fi Of YP Fu NANCE

A. Equipment
Pursuant (o the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed betaw:

Oty Make Serial No. Model Description (inctade all attachments)
1 Yale A: $753 F517 Z GDPOSOTGNUAFO86 New Forklift

Equipment immediately listed above is focated at: 635 West Eleventh St, Auburn, De Kalb County, IN 46706

Supplier: KMH Systems, Inc.

B. Financial Terms

t. Advance Rent (ifany): $654.71 2. Basic Term Rent: $654.71 |
3. Basic Term (No. of Months): 36 4. Public Liability Insurance: Minimurn $ 200M/S00M total Liability per occurrence. |
5. Purchase Order #: 6. Annual Operating Hours: 4000

The second sentence of Section It (c} of the Agreement shall be deleted in its entirety and the following added in its stead:

In the event that it Should be determined that the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours

by 20% or more, Lessee may, at Lessor’s option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage

charge which shall be determined by Lessor based on the applicable rental rates currently in effect at that time; plus (ii) any and all repair costs which are
deemed necessary by Lessor, in its sole reasonabte discretion, which are related to such excess usage. |

. _. EXHIBIT A” (2623)
Case 04-10427-reg-—Bee-605-t Fited 64/67/65—Page 13-ef23 -—-—.--

C. ‘Tax Benefits
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only): 200% declining balance method, switching to straight line method for the Ist taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance.
b. Recovery Period: 5 years.
c. Tax Rate: 35%

D. Purchase Option
Purchase Option Price; Fair Market Value
For the purposes of this Schedule only, so lang as no default exists hereunder and the lease has not been earlier terminated, Lessee may al lease expiration,

" upon at least 90 days prior written notice to Lessor, purchase all (but not Jess than all) of the Equipment leased pursuant to this Schedule on an AS IS BASIS

for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes}. If the Purchase Option Price is Fair Market Value, Lessee shall be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within 15 days after Fair

Market Valuc is determined (by agreement or appraisal).

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC.
(’ASSIGNEE"), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR’S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE "ACCOUNT DOCUMENTS"),
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE "ACCOUNT PROPERTY"), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SALD ASSIGNMENT

AND CONSENTS THERETO.

Lo EXHIBIT 3° [isg 2x
~€ase 04-10427-reg Doc 605-1 Filed 04/07/05 Page 14 of 23 oot

NN zz... cc

Berwices

4120494005 |

EQUIPMENT SCHEDULE/PURCHASE OPTION
TO LEASE AGREEMENT DATED AS OF MAY 8, 2001

SCHEDULE NO. 4120494-005 DATED THIS A | ‘ ? 0 e

Lessor: KMH Systems, Inc. Lessee: Auburn Foundry Inc
Address: 6900 Poe Avenue Address: 635 West Eleventh St
Dayton, OH 45414-0268 Auburn, IN 46706

Capitalized terms not defined herein shall have the meanings assigned to them in the Lease Agreement identified above { “Agreement”; said Agreement and
this Schedule being collectively referred to as "Lease").

Lessee hereby authorizes Lessor to file a financing statement and amendments thereto describing the Equipment described in this Schedule and adding any
other collateral described herein and containing any other information required by the applicable Uniform Commercial Code. Further, Lessee irrevocably
grants to Lessor the power to sign Lessee’s name and generally to act an behalf of Lessee to execute and file financing statements and other documents
pertaining to any or all of the Equipment.

Except as expressly modified hereby, all terms and provisions of the Agreement shall remain in full force and effect. This Schedule is not binding or effective
with respect to the Agreement or Equipment until executed on behalf of Lessor and Lessee by authorized representatives of Lessor and Lessee, respectively.

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO.

IN WITNESS WHEREOF, Lessee and Lessor have caused this Schedule to be executed by their duly authorized representatives as of the date
first above written.

LESSOR: LESSEE:

KMH Systems, Inc. Auburn Fo! ic .
ol 4, Pema yaa
Narne: kttWan Cd “Bang Name: i
Title: Cen te ( | tH Title: Cf Ll VO Linance

AL Equipment
Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:

Oy Make Serial No. Madel Descriptian (inctude all attachments

1 Yale Cc BI BVOR l Sle Z GDPO80LJINUAVO85 New Forklift

Equipment immediately listed above is located at: 635 West Eleventh St, Auburn, De Kalb County, IN 46706

Supplier: KMH Systems, inc.

B, Financial Terms

t. Advance Rent (jfany): $845.74 2. Basic Term Rent: $845.74
3. Basic Term (No. of Months): 36 4. Public Liabitity insurance: Minimum § 200M/500M total Liability per occurrence.
3._ Purchase Order #: 6. Annual] Operating Hours: 4000

The second sentence of Section H (c) of the Agreement shall be deleted in its entirety and the following added in its stead:

In the event that it should be determined that the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours
by 20% or more, Lessee may, at Lessor’s option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage
charge which shall be determined by Lessor based on the applicable rental rates currently in effect at that time: plus Gi) any and all repair costs which are
deemed necessary by Lessor, in its sole reasonabte discretion, which are related to such excess usage,

EXHIBIT A (p22) |
~~ Case 04-10427-reg Doc 605-1 Filed 04/07/05 Page15of23 . ,

C. Tax Benefits
Schedule Type/Tax Benefits
‘True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only): 200% declining batance method, switching to straight line methad forth the Ist taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance.
b. Recovery Period: 5 years,
c. Tax Rate: 35%

D. = Purchase Option
Purchase Option Price: Fair Market Value

For the purposes of this Schedule only, so long as no default exists hereunder and the lease has not been earlier terminated, Lessee may at lease expiration,
upon at least 90 days prior written notice to Lessor, purchase all (but not less than all) of the Equipment leased pursuant to this Schedule on an AS IS BASIS
for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes). If the Purchase Optian Price is Fair Market Value, Lessee shail be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within 15 days after Fair
Market Value is determined (by agreement or appraisal).

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC,
("ASSIGNEE"), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR’S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE "ACCOUNT DOCUMENTS"),
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE “ACCOUNT PROPERTY"), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT:
AND CONSENTS THERETO.

EXHIBIT A"(1s.f23)

--Gase 04-10427-reg Doc 605-1 Filed 04/07/05 Page 16 of 23

cc

Yate
Finwansial
Servicen

4120494006
EQUIPMENT SCHEDULE/PURCHASE OPTION
TO LEASE AGREEMENT DATED AS OF MAY 8, 2001
SCHEDULE NO. 4120494-006 DATED THIS t Zz
Lessor: KMH Systems, Inc. Lessce: Auburn Foundry Inc
Address: 6900 Poe Avenue Address: 635 West Eleventh St
Dayton, OH 45414-0268 Auburn, IN 46706

Capitalized terms not defined herein shall have the meanings assigned to them in the Lease Agreement identified above ( "Agreement"; said Agreement and
_this Schedule being collectively referred to ag "Lease™),

Lessee hereby authorizes Lessor to file a financing statement and amendments thereto describing the Equipment described in this Schedule and adding any
other collateral described herein and containing any other information required by the applicable Uniform Commercia! Code. Further, Lessee irrevocably
grants to Lessor the power to sign Lessce's name and generally to act on behalf of Lessee to execute and file financing statements and other documents
pertaining to any or all of the Equipment.

Except as expressly modified hereby, all terms and provisions of the Agreement shall remain in full force and effect. This Schedule is not binding or effective
with respect to the Agreement or Equipment until executed on behalf of Lessor and Lessee by authorized representatives of Lessor and Lessee, respectively.

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO.

IN WITNESS WHEREOF, Lessee and Lessor have caused this Schedule to be executed by their duly authorized representatives as of the date
first above written,

LESSOR: . LESSEE:

KMH Systems, ine. Auburn Foun ic
By: Le: hor. By: Shores [ites at
Name:_{aJ:\\Sa ua eh name: ener Leto h

Title: Comm L. | be Title: CFO

A. — Equipment
Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:
Qty Make Serial No, Madel_ Description (include all attachments)
—
1 Yale LIK IS PIF ——_eRCOGSRGNABTEOR4 New Forklift w/3 batteries & | charger

Equipment immediately listed above is located at: 635 West Eleventh St, Auburn, De Kalb County, IN 46706

Supplier: KMH Systems, Inc,

B. Financial Terms

1, Advance Rent (ifany): $1,047.52 2. Basic Term Rent: $ 1,047.52 ”
3. Basic Term (No, of Months): 36 4, Public Liability Insurance: Minimum §200M/500M total Liability per occurrence.
5. Purchase Order #: 6. Annual Operating Hours: 3000

The second sentence of Section II (c) of the Agreement shal] be deleted in its entirety and the following added in its stead:

In the event that it should be determined that the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours

by 20% or more, Lessee may, at Lessor’s option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage |
charge which shall be determined by Lessor based on the applicable rental rates currently in effect at that time; plus (ii) any and all repair costs which are

deemed necessary by Lessor, in its sole reasonable discretion, which are related to such excess usaye. |

oe D EXHIBIT A" (i 423)
-~ x... ~Gase04-10427-req Doc 605-1 Filed 04/07/05. Page 17 of 23. -

C Tax Benefits
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only): 200% declining balance method, switching to straight line method for the Ist taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance,
b. Recovery Period: 5 Years.
c. Tax Rate: 35%

D. Purchase Option

Purchase Option Price: Fair Market Value
For the purposes of this Schedule only, so Jong as no default exists hereunder and the Jease has not been earlier terminated, Lessee may at lease expiration,
upon at Jeast 90 days prior written notice to Lessor, purchase all (but not less than all) of the Equipment leased pursuant to this Schedule on an AS 1S BASIS
for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes). If the Purchase Option Price is Fair Market Value, Lessee shall be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within I$ days after Fair
Market Value is determined (by agreement or appraisal).

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES. INC.
("ASSIGNEE"), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR'S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE "ACCOUNT DOCUMENTS"), |
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE "ACCOUNT PROPERTY"), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT

AND CONSENTS THERETO.

nue. EXHIBIT A” ( 74,23)

-—Gase-64-16427-reg Doc 605-1 Filed 04/07/05 Page 18 of 23

NS ‘ate acne

Financial
Servican

4120494007
EQUIPMENT SCHEDULE/PURCHASE OPTION

TO LEASE AGREEMENT DATED AS OF MAY 8, 2001 |
pareo tus tL{ 21/02—
|

SCHEDULE NO. 4120494-007

Lessor: KMH Systems, Inc,
Address: 6900 Poe Avenue
Dayton, OH 45414-0268

Lessee: Auburn Foundry Enc
Address: 635 West Eleventh St
Auburn, tN 46706

this Schedule being collectively referred to as "Lease").

Lessee hereby authorizes Lessor to file a financing statement and amendments thereto describing the Equipment described in this Schedule and adding any
other collateral described herein and containing any other information required by the appticable Uniform Commercial Code, Further, Lessce irrevocably
grants to Lessor the power to sign Lessee's name and generally to act on behalf of Lessee to execute and file financing statements and other documents
pertaining to any or all of the Equipment.

Capitalized terms not defined herein shal] have the meanings assigned to them in the Lease Agreement identified above ( “Agreement”; said Agreement and
|
I

Except as expressly modified hereby, all terms and provisions of the Agreement shall remain in ful] foree and effect. This Schedule is not binding or effective
with respect to the Agreement or Equipment until executed on behalf of Lessor and Lessee by authorized representatives of Lessor and Lessee, respectively.

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO,

IN WITNESS WHEREOF, Lessee and Lessor have caused this Schedule to be executed by their duly authorized representatives as of the date
first above written,

LESSOR: LESSEE:
KMH Systems, Inc,

Auburn Foundry Lac
By: Ce Ds a By: Dover SPH, fn
Name: Ws: Verne = I, Name: LALWOGS &) ore &
Title: (ent, tL- Title: a fe 2

A Equipment
Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:
Qty Make Serial No. Model escription (include all attachments
—
1 Yale E/OBVIPTEOT ——_eRcoosRGnasTF078 New Forklift w/3 batteries & | charger

Equipment immediately listed above is located at: 635 West Eleventh St, Auburn, De Kalb County, IN 46706

Supplier: KMH Systems, Inc.

B. Financial Terms

lL. Advance Rent (if any): $1,064.97
3. Basic Term (No, of Months): 36
5. Purchase Order #:

2. Basic Term Rent: § 1,064.97
4. Public Liability Insurance: Minimum $ 200M/SOOM total Liability per occurrence. . |

6. Annual Operating Hours: 3000

The second sentence of Section II (c) of the Agreement shalt be deleted in its entirety and the following added in its stead:

In the event that it should be determined that the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours
by 20% or more, Lessee may, at Lessor's option, be required to pay upon demand, in addition to any other amounts due under the Leuse: (i) an excess usage
charge which shall be determined by Lessor based on the applicable rental rates currently in effect at that time; plus (ii) any and all repair costs which are
deemed necessary by Lessor, in its sole reasonable discretion, which are related to such excess usage. (C

2
EXHIBIT" (| Bef 23)
Case 04-10427-reg Doc 605-1 Filed 04/07/05 Page19o0f23. ..-. _-_-..

Cc. Tax Benefits
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a, Depreciation Deductions (True Lease Only): 200% declining balance method, switching to straight line method for the Ist taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year wilt yield a larger allowance,
b. Recovery Period: 5 Years.
c. Tax Rate: 35%

D. Purchase Option

Purchase Option Price: Fair Market Vatuc
For the purposes of this Schedule only, so long as no default exists hereunder and the lease has not been caslier terminated, Lessee may at lease expiration,
upon at least 90 days prior written notice to Lessor, purchase all (but not less than all) of the Equipment leased pursuant to this Schedule on an AS IS BASIS
for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes). 1 the Purchase Option Price is Fair Market Value, Lessee shall be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within 15 days after Fair
Market Value is determined (by agreement or appraisal).

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC.
(“ASSIGNEE”), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR'S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE “ACCOUNT DOCUMENTS"),
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE "ACCOUNT PROPERTY"), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT
AND CONSENTS THERETO.

C
L.2

Le. EXHIBIF9* fq 23)

Case 04-40427-reg Doc 605-1 Filed 04/07/05 Page 20 of 23 =

s icc i

Wrler
Financial
Serviceanu

4120494008

EQUIPMENT SCHEDULE/PURCHASE OPTION
TO LEASE AGREEMENT DATED AS OF MAY 8, 2001

SCHEDULE NO. 4120494-008 DATED THIS Ji z94o2._

Lessor: KMH Systems, Inc. Lessee: Auburn Foundry Inc
Address: 6900 Poe Avenue Address: 635 West Eleventh St
Dayton, OH 45414-0268 Auburn, IN 46706

Capitalized terms not defined herein shall have the meanings assigned to them in the Lease Agreement identified above ( Agreement"; said Agreement and
this Schedule being collectively referred to as "Lease").

Lessee hereby authorizes Lessor to file a financing statement and amendments thereto describing the Equipment described in this Schedule and adding any
other collateral described herein and containing any other information required by the applicable Uniform Commercial Code. Further, Lessee irrevocably
grants to Lessor the power to sign Lessee's name and generally to act on behalf of Lessee to execute and file financing statements and other documents

pertaining to any or all of the Equipment.

Except as expressly modified hereby, all terms and provisions of the Agreement shall remain in full force and effect. This Schedule is nat binding or effective
with respect to the Agreement or Equipment until executed on behalf of Lessor and Lessee by authorized representatives of Lessor and Lessee, respectively.

| ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO.

| [IN WITNESS WHEREOF, Lessce and Lessor have caused this Schedule to be executed by their duly authorized representatives as of the date
I first above written,

LESSOR: LESSEE:

KMH Systems, Inc. Auburn Hf Inc aD sf
. By:__JA tb Qo Sen. By:
Name: AA; We 7. Ra Name:__SMOVPEA ES Leaecsh
Title: C4. (L— Title: Coe

A. Equipment

Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:
Qty Make Serial No Model Description {include all attachments)
i Yale E/OCVITT77Z —_ ERcOsSRGN4STEORS New Forklift w/3 batteries & 1 charger

Equipment immediately listed above is located at: 635 West Eleventh St, Auburn, De Kalb County, IN 46706

Supplier: KMH Systems, Inc,

B. Financial Terms

1. Advance Rent (if any): $1,036.99 2. Basic Term Rent: § 1,036.99 : '
3, Basic Term (No. of Months): 36 4, Public Liability Insurance: Minimum $ 200M/500M total Liabitity per occurrence. !
3. Purchase Order #: 6. Annual Operating Hours: 3000

The second sentence of Section II (c) of the Agreement shall be deleted in its entirety and the following added in its stead;

In the event that it should be determined that the actua} number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours
by 20% or more, Lessee may, at Lessor's option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage
charge which shall be determined by Lessor based on the applicable rental rates currently in effect at that time: plus (ii) any and all repair costs which are
deemed necessary by Lessor, in its sole reasonable discretion, which are related to such excess usage.

\
\ EXHIBIT "(e fe 3)
- Case 04-10427-reg Doc 605-1 Filed 04/07/05.--Page 210f23 . . .-

Cc. Tax Benefits
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only): 200% declining balance method, switching to straight line method for the Ist taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance.
b. Recovery Period: 5 Years.
c. Tax Rate: 35%

D. rch: tion

Purchase Option Price: Fair Market Value
For the purposes of this Schedule only, so long as no default exists hereunder and the fease has not been earlier terminated, Lessce may at lease expiration,
upon at least 90 days prior written notice to Lessor, purchase all (but not less than al!) of the Equipment leased pursuant to this Schedule on an AS IS BASIS
for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes), If the Purchase Option Price is Fair Market Value, Lessee shall be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within 15 days after Fair
Market Value is determined (by agreement or appraisal).

gE. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC.
("ASSIGNEE"), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR'S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY, THE "ACCOUNT DOCUMENTS"),
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE “ACCOUNT PROPERTY}, AND
ALL RIGHTS AND REMEDIES TREREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT

AND CONSENTS THERETO.

O
pod

woe . = EXHIBIT'A™ For p23)

Case 04-10427-reg Doc 605-1 Filed 04/07/05 Page.22 of 23...

Ni care : A

Financial
Serviceu

4120494009

EQUIPMENT SCHEDULE/PURCHASE OPTION
TO LEASE AGREEMENT DATED AS OF MAY 8, 2001 i

SCHEDULE NO. 4120494-009 DATED THIS 2 1 | O2-

Lessor: KMH Systems, Inc. Lessee: Auburn Foundry Inc
Address: 6900 Poe Avenue Address: 635 West Eleventh St .
Dayton, OH 45414-0268 Auburn, IN 46706

Capitalized terms not defined herein shall have the meanings assigned to them in the Lease Agreement identified above ( "Agreement"; said Agreement and
this Schedule being collectively referred to as " Lease"),

Lessee hereby authorizes Lessor to file a financing statement and amendments thereto describing the Equipment described in this Schedule and adding any
other collateral described herein and containing any other information required by the applicable Uniform Commercial Code. Further, Lessee irrevocably
grants to Lessor the power to sign Lessee's name and generally to act on behalf of Lessee to execute and file financing statements and other documents
pertaining to any or all of the Equipment. .

Except as expressly modified hereby, all terms and provisions of the Agreement shall remain in full force and effect. This Schedule is not binding or effective
with respect to the Agreement or Equipment unti] executed on behalf of Lessor and Lessee by authorized representatives of Lessor and Lessce, respectively.

ALL TERMS AND CONDITIONS ON THE REVERSE SIDE OF THIS SCHEDULE ARE A PART HEREOF AND
ARE BINDING UPON THE PARTIES HERETO.

IN WITNESS WHEREOF, Lessee and Lessor have caused this Schedule to be executed by their duly authorized representatives as of the date
first above written.

LESSOR: LESSEE;

KMH Syste s Inc, Auburn Foundry Inc

By: il Den By: Hove Lytle dt
Name: tJ: IWaun Dang Name:_PACMAAOS Ld sh.
Tite: Quttlhe Tite _ CAO

A. Equipment

Pursuant to the terms of the Lease, Lessor agrees to acquire and lease to Lessee the Equipment listed below:
Oty Make Serial No, Model Description (include all attachments)

A

I Yale Et SV 779 672 ERCO6SRGN48TFO84 New Forklift w/3 batteries & | charger .
1 Yale gyos/ 7582S ERCO6SRGN48TFO84 New Forklift w/3 batteries & 1 charger
I Yale £7OFVITI 77S ERCO6SRGN48TF084 New Forklift w/3 batteries & 1 charger
1 Yale C(OGK ITI SITY S ERCOGSRGN48TF084 New Forklift w/3 batteries & 1 charger
Equipment immediately listed above is located at: 635 West Eleventh St, Auburn, De Kalb County, IN 46706

Supplier: KMH Systems, Inc,

B. Financial Terms

|. Advance Rent (ifany): $4,190.08 2. Basic Term Rent: $4,190.08
3. Basic Term (No. of Months): 36 4. Public Liability Insurance: Minimum $ 200M/S0QM total Liability per occurrence.
5. Purchase Order #: 6. Annual Operating Hours: 3000

The second sentence of Section II (c) of the Agreement shall be deleted in its entirety and the following added in its stead:
In the event that it should be determined that the actual number of operating hours for any unit of Equipment exceeds the applicable Annual Operating Hours
by 20% or more, Lessee may, at Lessor's option, be required to pay upon demand, in addition to any other amounts due under the Lease: (i) an excess usage

C :
EXHIBIT "\p 4/22 4 23)

Case 04-10427-reg Doc 605-1 Filed 04/07/05 Page 23.of 23

charge which shall be determined by Lessor based on the applicable rental rates currently in effect at that time; plus (ii) any and all repair costs which are
decmed necessary by Lessor, in its sole reasonable discretion, which are related to such excess usage.

C. Tax Benefits
Schedule Type/Tax Benefits
True Lease - Lessor retains Tax Benefits
a. Depreciation Deductions (True Lease Only}: 200% declining balance method, switching to straight line method for the 1st taxable year for which using the
straight line method with respect to the adjusted basis as of the beginning of such year will yield a larger allowance.
b. Recovery Period: 5 Years.
¢. Tax Rate: 35%

D. Purchase Option

Purchase Option Price: Fair Market Value
For the purposes of this Schedule only, so long as no default exists hereunder and the lease has not been earlier terminated, Lessee may at lease expiration,
upon at least 90 days prior written notice to Lessor, purchase all (but not less than all) of the Equipment leased pursuant to this Schedule on an AS IS BASIS
for cash equal to the Purchase Option Price indicated above (plus applicable sales taxes). If the Purchase Option Price is Fair Market Value, Lessee shall be
deemed to have waived this option unless it provides Lessor with written notice of its irrevocable election to exercise the same within 15 days after Fair
Market Value is determined (by agreement or appraisal).

E. Assignment

FOR VALUE RECEIVED, THE UNDERSIGNED LESSOR HEREBY SELLS, TRANSFERS AND ASSIGNS TO NMHG FINANCIAL SERVICES, INC.
("ASSIGNEE"), ITS SUCCESSORS AND ASSIGNS, ALL OF ASSIGNOR'S RIGHT, TITLE AND INTEREST IN AND TO THIS LEASE AND ALL
RELATED GUARANTIES, DOCUMENTS AND OTHER INSTRUMENTS RELATED THERETO (COLLECTIVELY. THE "ACCOUNT DOCUMENTS"),
AND ALL EQUIPMENT, COLLATERAL AND OTHER PROPERTY DESCRIBED THEREIN (COLLECTIVELY, THE "ACCOUNT PROPERTY’), AND
ALL RIGHTS AND REMEDIES THEREUNDER PURSUANT TO THE TERMS OF THE ASSIGNMENT BY DEALER DATED MAY 8, 2001 AND
HEREBY REAFFIRMS ALL OF THE REPRESENTATIONS AND WARRANTIES SET FORTH THEREIN WITH RESPECT TO THE ACCOUNT
DOCUMENTS AND THE ACCOUNT PROPERTY. BY ITS SIGNATURE BELOW, THE LESSEE HEREBY ACKNOWLEDGES SAID ASSIGNMENT

AND CONSENTS THERETO.

f !
LL

EXHIBIT 9” (23 4 23,
